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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     NEWNAN DIVISION



AMERICA FIRST LEGACY PAC,

       Plaintiff,
                                             CIVIL ACTION FILE
v.
                                             NO. 3:24-cv-20-TCB
ANGIE WONG,

       Defendant.



                                   ORDER

      This case comes before the Court on Defendant Angie Wong’s

motion [3] for judgment on the pleadings and Plaintiff America First

Legacy PAC’s (“Legacy PAC”) motion [4] to consolidate this case with

America’s First Legacy PAC v. Angie Wong, No. 3:23-cv-208-TCB.1

      Although in its early stages, this case has a complicated

procedural history. On August 22, 2023, Legacy PAC filed a complaint

against Wong in the Superior Court of Coweta County. On November 3,


      1 The Court notes that the Plaintiff’s name in case number 3:23-cv-208 is

America’s First Legacy PAC, and the Plaintiff’s name in case number 3:24-cv-20 is
America First Legacy PAC. The two entities are the same, and Plaintiff refers to
itself as America First Legacy PAC in filings in both case numbers.
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Wong removed the case to this Court (America’s First Legacy PAC v.

Angie Wong, No. 3:23-cv-208-TCB). On January 12, 2024, before the

Court could rule on Wong’s motion to dismiss, Legacy PAC filed [15] a

notice of voluntary dismissal without prejudice. On January 18, Wong

filed [18] a notice that Legacy PAC failed to obtain her stipulation as to

the dismissal. As such, case number 3:23-cv-208-TCB is still pending.

     On January 15, 2024, three days after Legacy PAC filed the notice

of voluntary dismissal in 3:23-cv-208-TCB, it filed another lawsuit

against Wong in the Superior Court of Coweta County. On January 30,

Wong removed the case to this Court under this case number and filed a

motion [3] for judgment on the pleadings based on the prior pending

action doctrine.

     Legacy PAC did not respond to Wong’s motion for judgment on the

pleadings, deeming it unopposed. But on February 13, it moved to

consolidate this case with 3:23-cv-208-TCB. On February 23, Wong filed

[6] a response to the motion to consolidate, opposing the motion for two

reasons: (1) if the Court granted her motion for judgment on the

pleadings, “there will be nothing to consolidate,” and (2) consolidation is

unnecessary because the complaints are identical. [6] at 3–4.



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      A party may move for judgment on the pleadings “[a]fter the

pleadings are closed—but early enough not to delay trial.” FED. R. CIV.

P. 12(c). Judgment on the pleadings is appropriate only “when no issues

of material fact exist, and the movant is entitled to judgment as a

matter of law.” Ortega v. Christian, 85 F.3d 1521, 1524 (11th Cir. 1996).

When reviewing a motion for judgment on the pleadings, the Court

considers only the substance of the pleadings and any judicially noticed

facts, and it accepts the facts in the pleadings as true and views them in

the light most favorable to the nonmoving party. See Hawthorne v. Mac

Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir. 1998).

      As this Court has explained, “[t]he prior pending action doctrine is

invoked when the second case is duplicative of the first.” Estate of

Barnett v. NaphCare, Inc., No. 1:21-cv-2890-TCB, 2021 WL 7541406, at

*2 (N.D. Ga. Sept. 2, 2021). “A second lawsuit is duplicative of the first

if the parties, issues and available relief do not significantly differ

between the two actions.” Id. (internal quotation marks and quotation

omitted). “When a plaintiff files a second complaint alleging the same

cause of action as a prior, pending, related action, the second complaint

may be dismissed.” Id. (quotation omitted).



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        This is the second case between the parties pending before the

Court. The complaint in this case is nearly identical to the complaint in

another case pending before the undersigned Judge, case number 3:23-

cv-208-TCB. Both complaints involve the same parties, assert the same

claims, and involve the same facts. The only difference is that here,

Legacy PAC seeks to recover an amount below the $75,000 amount-in-

controversy threshold for diversity jurisdiction. The complaint in case

number 3:23-cv-208-TCB seeks $22,500 in damages for count one

(unlawful interference with employer’s business); $250,000 in

compensatory damages and an unspecified amount of punitive damages

for count two (defamation/libel); an injunction for counts three

(conversion/trover of Legacy PAC property) and four (motion for

immediate/temporary injunctive relief); and an unspecified amount of

damages for count five (attorney’s fees and litigation expenses).

        In this case, Legacy PAC seeks the same amount of damages in

count one, but reduces the damages from $250,000 to $50,000 for count

two.2


        2 Although the specified amount of damages sought is $2,500 less than the

$75,000 threshold for diversity jurisdiction, Legacy PAC still seeks punitive
damages in count two. The egregious misconduct alleged makes it likely that any
potential award of punitive damages would be more than the amount necessary to


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      Legacy PAC “had no right to maintain two separate actions

involving the same subject matter at the same time in the same court

and against the same defendant[].” Oliney v. Gardner, 771 F.2d 856,

859 (5th Cir. 1985) (quoting Walton v. Eaton Corp., 563 F.2d 66, 70 (3d

Cir. 1977)). Therefore, because Legacy PAC failed to respond to Wong’s

motion and for good cause shown, the case must be dismissed.

      For the foregoing reasons, Wong’s motion [3] for judgment on the

pleadings is granted. Because the motion is granted, Legacy PAC’s

motion [4] to consolidate is denied as moot. Closing of this case will not

adversely affect the rights of any party in the associated case of 3:23-cv-

208-TCB. The Clerk is directed to close this case.

      IT IS SO ORDERED this 4th day of March, 2024.



                                        ____________________________________
                                        Timothy C. Batten, Sr.
                                        Chief United States District Judge


satisfy the threshold requirement. Roe v. Michelin N. Am., Inc., 613 F.3d 1058,
1062, 1064 (11th Cir. 2010) (holding that the district court may use its common
sense and judicial experience to evaluate the complaint to determine whether it is
“facially apparent” from the pleading whether the amount-in-controversy
requirement is satisfied when the complaint fails to provide a specific amount of
damages (quoting Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 754 (11th Cir.
2010)); see also Holley Equip. Co. v. Credit All. Corp., 821 F.2d 1531, 1535 (11th Cir.
1987) (stating that “[p]unitive damages must be considered when determining the
jurisdictional amount in controversy in diversity cases”).


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